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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEBRASKA
                                   (Lincoln Division)


UNITED STATES OF AMERICA, )
                                    )
                       Plaintiff,   )
                                    )
      vs.                           )                 Case No.4:06CR3075
                                    )
KENNETH SLOMINSKI and               )
HAROLD TITUS SWAN,                  )
                                    )
                  Defendants.       )
                                    )
____________________________________)

                                               ORDER


        NOW on this 22nd day of March, 2007, this matter comes on for consideration of

Defendant Harold Titus Swan’s unopposed motion extend the deadlines for disclosure of expert

reports and disclosure of Jencks Act materials. The date for these disclosures is currently May 31,

2007.

        Defendant’s unopposed motion is GRANTED. The deadline for disclosure of expert

reports and for disclosure of Jencks Act materials is extended to June 12, 2007.

                                               BY THE COURT


                                               s/David L. Piester
                                               David L. Piester
                                               United States Magistrate Judge
